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                   EXHIBIT 6
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                                                                                                    Executive Order 14185 of January 27, 2025

                                                                                                    Restoring America’s Fighting Force


                                                                                                    By the authority vested in me as President by the Constitution and the
                                                                                                    laws of the United States of America, it is hereby ordered:
                                                                                                    Section 1. Purpose. As Chief Executive and as Commander in Chief, I am
                                                                                                    committed to meritocracy and to the elimination of race-based and sex-
                                                                                                    based discrimination within the Armed Forces of the United States. No
                                                                                                    individual or group within our Armed Forces should be preferred or dis-
                                                                                                    advantaged on the basis of sex, race, ethnicity, color, or creed.
                                                                                                    Unfortunately, in recent years civilian and uniformed leadership alike have
                                                                                                    implemented Diversity, Equity, and Inclusion (DEI) programs and their at-
                                                                                                    tendant race and sex preferences within the Armed Forces. These actions
                                                                                                    undermine leadership, merit, and unit cohesion, thereby eroding lethality
                                                                                                    and force readiness. They also violate Americans’ consciences by engaging
                                                                                                    in invidious race and sex discrimination.
                                                                                                    Sec. 2. Policy. It is the policy of my Administration that the Department
                                                                                                    of Defense, the Department of Homeland Security with regard to the United
                                                                                                    States Coast Guard (USCG), and every element of the Armed Forces should
                                                                                                    operate free from any preference based on race or sex.
                                                                                                    Sec. 3. Definitions. (a) A ‘‘DEI office’’ means an office, division, job, or
                                                                                                    other unit of an institution established for the purpose of:
                                                                                                       (i) influencing hiring or employment practices at the institution with
                                                                                                       respect to race, sex, color, or ethnicity, other than through the use of
                                                                                                       color-blind and sex-neutral hiring processes; or
                                                                                                       (ii) promoting differential treatment of or providing special benefits to
                                                                                                       individuals on the basis of race, sex, color, or ethnicity.
                                                                                                       (b) The term ‘‘gender ideology’’ has the meaning given to that term in
                                                                                                    section 2(f) of the Executive Order of January 20, 2025, (Defending Women
                                                                                                    from Gender Ideology Extremism and Restoring Biological Truth to the Fed-
                                                                                                    eral Government).
                                                                                                      (c) The term ‘‘divisive concepts’’ has the meaning given to that term
                                                                                                    in section 2(a) of Executive Order 13950 of September 22, 2020 (Combating
                                                                                                    Race and Sex Stereotyping).
                                                                                                    Sec. 4. Abolishing the DEI Bureaucracy. The Secretary of Defense and the
                                                                                                    Secretary of Homeland Security shall abolish every DEI office within the
                                                                                                    Department of Defense and the Department of Homeland Security with regard
                                                                                                    to the USCG, respectively, including any vestiges of DEI offices, such as
                                                                                                    sub-offices, programs, elements, or initiatives established to promote a race-
                                                                                                    based preferences system that subverts meritocracy, perpetuates unconstitu-
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                                                                                                    tional discrimination, and promotes divisive concepts or gender ideology.
                                                                                                    Sec. 5. Department of Defense Internal Review. The Secretary of Defense
                                                                                                    shall conduct an internal review that documents actions taken in pursuit
                                                                                                    of DEI initiatives, including all instances of race and sex discrimination
                                                                                                    and activities designed to promote a race- or sex-based preferences system.
                                                                                                    The report shall be delivered to the Secretary of Defense within 90 days
                                                                                                    of the date of this order.


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                                                                                                    Sec. 6. Protecting American Values. (a) The Department of Defense and
                                                                                                    the Armed Forces, including any educational institution operated or con-
                                                                                                    trolled thereby, are prohibited from promoting, advancing, or otherwise incul-
                                                                                                    cating the following un-American, divisive, discriminatory, radical, extremist,
                                                                                                    and irrational theories:
                                                                                                       (i) ‘‘divisive concepts,’’ as defined in section 3(c) of this order, and ‘‘race
                                                                                                       or sex stereotyping,’’ or ‘‘race or sex scapegoating’’ as both terms are
                                                                                                       defined in section 2 of Executive Order 13950, as amended;
                                                                                                       (ii) that America’s founding documents are racist or sexist; and
                                                                                                      (iii) ‘‘gender ideology,’’ as defined in section 3(b) of this order.
                                                                                                      (b) The Department of Defense and the Armed Forces shall not hire
                                                                                                    employees, contractors, or consultants to teach the theories set forth in
                                                                                                    subsection (a) of this section.
                                                                                                      (c) The Secretary of Defense and the Secretary of Homeland Security
                                                                                                    shall carefully review the leadership, curriculum, and instructors of the
                                                                                                    United States Service Academies and other defense academic institutions
                                                                                                    associated with their respective Departments to ensure alignment with this
                                                                                                    order. In addition, these institutions shall be required to teach that America
                                                                                                    and its founding documents remain the most powerful force for good in
                                                                                                    human history.
                                                                                                    Sec. 7. Implementation. (a) The Secretary of Defense and the Secretary
                                                                                                    of Homeland Security shall issue detailed guidance for the implementation
                                                                                                    of this order to their respective departments within 30 days of the date
                                                                                                    of this order.
                                                                                                      (b) Within 180 days of the date of this order, the Secretary of Defense
                                                                                                    and the Secretary of Homeland Security shall submit a report through the
                                                                                                    Deputy Chief of Staff for Policy documenting the progress of their respective
                                                                                                    Departments in implementing this order, and any recommendations for action
                                                                                                    to fulfill the objectives of this order.
                                                                                                    Sec. 8. Severability. If any provision of this order, or the application of
                                                                                                    any provision to any person or circumstance, is held to be invalid, the
                                                                                                    remainder of this order and the application of its provisions to any other
                                                                                                    persons or circumstances shall not be affected thereby.
                                                                                                    Sec. 9. General Provisions. (a) Nothing in this order shall be construed
                                                                                                    to impair or otherwise affect:
                                                                                                      (i) the authority granted by law to an executive department, agency, or
                                                                                                      the head thereof; or
                                                                                                      (ii) the functions of the Director of the Office of Management and Budget
                                                                                                      relating to budgetary, administrative, or legislative proposals.
                                                                                                      (b) This order shall be implemented consistent with applicable law and
                                                                                                    subject to the availability of appropriations.
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                                                                                                      (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                    substantive or procedural, enforceable at law or in equity by any party
                                                                                                    against the United States, its departments, agencies, or entities, its officers,
                                                                                                    employees, or agents, or any other person.




                                                                                                    THE WHITE HOUSE,
                                                                                                    January 27, 2025.


                                                [FR Doc. 2025–02181
                                                Filed 1–31–25; 8:45 am]
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